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                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS



JOSE MARIA DeCASTRO,
a/k/a CHILLE DeCASTRO,
a/k/a DELETE LAWZ,                          Case No. 1:22-cv-11421-ADB

            Plaintiff and   Defendant-in-   Leave to file granted on June 5, 2023
            Counterclaim                    (ECF No. 126)

       v.

JOSHUA ABRAMS a/k/a
ACCOUNTABILITY FOR ALL and
KATE PETER a/k/a
MASSHOLE TROLL MAFIA,

            Defendants and Plaintiffs-in-
            Counterclaim, and

GOOGLE LLC,

            Defendant.


        DEFENDANT GOOGLE LLC’S REPLY IN FURTHER SUPPORT
OF ITS MOTION TO TRANSFER TO THE NORTHERN DISTRICT OF CALIFORNIA
                 OR, IN THE ALTERNATIVE, TO DISMISS
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       By leave of Court, Google LLC (“Google”) submits this reply in further support of its

motion for transfer or dismissal, to address arguments raised in Plaintiff’s opposition brief.

I.     Plaintiff Cannot Avoid Transfer By Ignoring Atlantic Marine
       Plaintiff seeks to avoid transfer by simply ignoring the controlling framework set out in

Atlantic Marine Construction Co. v. United States District Court for the Western District of Texas,

571 U.S. 49 (2013). Opp. (ECF No. 123) at 1-4. Transfer should nonetheless be granted.

       The parties agree that YouTube’s Terms of Service (“TOS”) constitute an agreement

between YouTube and Plaintiff that “[a]ll claims arising out of or relating to these terms or the

Service . . . will be litigated exclusively in the federal or state courts of Santa Clara County,

California.” Mot. (ECF No. 121) at 4; Declaration of Raquel Small (ECF No. 121-1) (“Decl.”) Ex.

A at 15; Opp. at 2. Plaintiff does not dispute that, in addition to expressly accepting the TOS when

creating his YouTube channel on July 28, 2020 (Mot. at 8; Decl. ¶ 9), he agreed to the same forum-

selection clause again when he agreed to the YouTube Partner Program Terms, which allow him

to earn ad revenue from YouTube’s service (Mot. at 4; Decl. ¶ 10 & Ex. B). Plaintiff nonetheless

makes two arguments against transfer, both of which fail.

       First, Plaintiff argues that his claims against Google fall outside the scope of the forum-

selection clause because they are not “claims between users of the service and YouTube related to

the products and services that YouTube provides the users.” Opp. at 2. To the extent that argument

is comprehensible, it is wrong. Plaintiff concedes that his claims are “related to YouTube’s

[alleged] failure to take appropriate action for copyright infringement on its platform.” Id. More

specifically, he alleges that Google is liable for YouTube users copying videos onto YouTube that

he had previously uploaded to YouTube. E.g. Supp. Compl. (ECF No. 79) ¶¶ 9-12. Such claims

obviously “arise out of or relat[e]” to the YouTube service (Decl. Ex. A at 15), and are

indistinguishable from other copyright claims that were found to be covered by YouTube’s forum-


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selection clause, e.g., Kifle v. YouTube LLC, 2021 U.S. Dist. LEXIS 168267, at *9 (N.D. Ga. Mar.

12, 2021). Plaintiff makes no effort to distinguish the cases that broadly interpret YouTube’s

forum-selection clause to cover such claims. See Mot. at 8-10 (citing cases).

          Second, Plaintiff invents a new legal standard that directly contradicts Atlantic Marine. He

wrongly asserts that forum-selection clauses can only be invoked by a “necessary party” (Opp. at

2-3), they do not apply if they would cause unanticipated inconvenience (id. at 3), and the burden

is on the party seeking to enforce the clause (id. at 3-4). None of that is true, and Plaintiff makes

no attempt to distinguish the ample case law Google cites to the contrary. Mot. at 7-8, 12.1

II.       Plaintiff Cannot Prevent Dismissal By Registering One Work After Filing Suit
          To survive a motion to dismiss, a copyright plaintiff must register the allegedly infringed

works “before filing suit,” Foss v. Marvic Inc., 994 F.3d 57, 62 (1st Cir. 2021) (emphasis added),

“allege that registration had been obtained prior to suit,” Cortés-Ramos v. Martin-Morales, 956

F.3d 36, 43 (1st Cir. 2020) (emphasis added), and “plausibly allege” that “the copying of the

copyrighted material was so extensive that it rendered the infringing and copyrighted works

‘substantially similar,’” Kenney v. Warner Bros. Entm’t, Inc., 984 F. Supp. 2d 9, 12 (D. Mass.

2013) (quoting Johnson v. Gordon, 409 F. 3d 12, 18 (1st Cir. 2005)) (emphasis added). See Mot.

at 13-14. Plaintiff’s complaints do none of these things, and fall far short of basic pleading

standards. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Supp. Compl. ¶¶ 9-16 (making

conclusory allegations against Google); 2d Supp. Compl. (ECF No. 118) ¶ 1 (alleging that “all



      1
      In any event, Plaintiff’s cases uniformly support the enforcement of similar forum-selection
clauses. See Bremen v. Zapata Off-Shore Co., 407 U.S. 1, 15-18 (1972); Ne. Theatre Corp. v. Edie
& Ely Landau, Inc., 563 F. Supp. 833, 835 (D. Mass. 1983); BABN Techs. Corp. v. Bruno, 25 F.
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2d 1351, 1356 (S.D. Fla. 2006); C. White Marine, Inc. v. S&R Corp., 2013 Mass. Super. LEXIS
16, at *14 (Mass. Super. Ct. Feb. 27, 2013).


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Defendants including unknown ones” are responsible for unspecified infringements).

       Plaintiff nowhere alleges that he registered any copyrighted work, and concedes (as he

must) that “a copyright claim can be dismissed for not having alleged that the copyrights have

been registered.” Opp. at 4. This requires dismissal. Mot. at 13 (citing 17 U.S.C. § 411(a); Fourth

Estate Pub. Benefit Corp. v. Wall-Street.com, LLC, 139 S. Ct. 881 (2019)). Plaintiff nonetheless

seeks to avoid dismissal because Google “has joined the party a bit late, and the other parties never

raised the issue.” Opp. at 4. Supposedly, because Plaintiff chose not to name Google as a defendant

until his Supplemental Complaint (ECF No. 79), it is now too late to point out his failure to register

any copyrighted works. Nonsense. Google is raising the issue at its first opportunity, “in support

of the motion to dismiss.” Padula v. Freedom Mortg. Corp., 2020 U.S. Dist. LEXIS 126206, at

*12 (D. Mass. July 17, 2020) (Burroughs, J.).

       Plaintiff’s only other argument relies on a new fact not alleged in any complaint—that

Plaintiff “has successfully and completely registered at least one key video.” Opp. at 4. But an

argument unsupported by factual allegations cannot prevent dismissal. When a plaintiff argues

facts in opposition that “are not alleged in the Complaint, the Court considers them only for the

purpose of determining that it would be futile to allow Plaintiff leave to amend his Complaint.”

Azevedo v. U.S. Bank N.A., 167 F. Supp. 3d 166, 169 n.4 (D. Mass. 2016) (Burroughs, J.).

       Plaintiff’s belated argument does not even justify allowing him leave to replead, because

he has only ever registered one video, and did so after he “instituted” this “civil action” in violation

of 17 U.S.C. § 411(a). Declaration of Benjamin Margo ¶ 3 & Ex. A (Copyright Reg. No.

PA0002398490 (Feb. 2, 2023)).2 His failure to register any allegedly infringed work prior to



   2
      The Court may take judicial notice of Plaintiff’s February 2, 2023 registration, which is
viewable on a government website, authenticated (Margo Decl. ¶ 3 & Ex. A), and not disputed.
See Island Software & Comput. Serv. v. Microsoft Corp., 413 F.3d 257, 261 (2d Cir. 2005).


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bringing a lawsuit requires dismissal. Cortés-Ramos v. Martin-Morales, 956 F.3d 36, 43 (1st Cir.

2020); accord Fourth Estate, 139 S. Ct. at 885 (“Registration is . . . akin to an administrative

exhaustion requirement that the owner must satisfy before suing to enforce ownership rights.”).

       Plaintiff’s failure to satisfy § 411(a) renders futile any attempt to file an amended or

supplemental complaint. Cortés-Ramos v. Martin-Morales, 2020 U.S. Dist. LEXIS 152384, at *10

(D.P.R. Aug. 21, 2020) (collecting cases). Allowing Plaintiff to draw out this litigation would only

validate his strategy of suing on hundreds of unregistered works and then registering them one-

by-one as needed. This “would undermine Fourth Estate,” Roblox Corp. v. Wowwee Grp. Ltd.,

2023 U.S. Dist. LEXIS 40153, at *10 (N.D. Cal. Mar. 9, 2023), and “make a meaningless formality

out of Fourth Estate’s requirement that an application be approved prior to filing suit,” Malibu

Media, LLC v. Doe, 2019 U.S. Dist. LEXIS 56578, at *7 (S.D.N.Y. Apr. 2, 2019); see also Mai

Larsen Designs v. Want2Scrap, LLC, 2019 U.S. Dist. LEXIS 92215, at *16-17 (W.D. Tex. June

3, 2019) (citing Malibu Media).

       Allowing Plaintiff to sidestep § 411(a) by filing amended or supplemental complaints

would also be inconsistent with the text of the Copyright Act. As Judge Breyer held in a similar

case, “[b]y tying the registration requirement to when a ‘civil action’ is ‘instituted,’ the plain

language of § 411(a) refers to the beginning of a lawsuit, not the filing of an amended pleading.”

Kifle v. YouTube LLC, 2021 U.S. Dist. LEXIS 74885, at *15 (N.D. Cal. Apr. 19, 2021) (denying

a pro se plaintiff leave to amend); see also Hardwell v. Parker, 2023 U.S. Dist. LEXIS 83203, at

*6 (C.D. Cal. May 10, 2023) (citing Kifle).

III.   Plaintiff Granted YouTube A Broad License Covering All Works-In-Suit
       As noted, Plaintiff does not dispute that he agreed to YouTube’s TOS, which states that by

uploading his videos, he gave “YouTube a worldwide, non-exclusive, royalty-free, sublicensable

and transferable license to use that Content (including to reproduce, distribute, prepare derivative


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works, display and perform it) in connection with the Service and YouTube’s . . . business.” Ex.

A at 8; see Mot. at 14-16. Nor does he dispute that “[u]nder the plain language of the License,

YouTube cannot be liable for directly infringing any copyrights associated with any content that

[Plaintiff] has uploaded to its channel.” Bus. Casual Holdings, LLC v. YouTube, LLC, 2022 U.S.

Dist. LEXIS 50166, at *12 (S.D.N.Y. Mar. 21, 2022), appeal docketed, No. 22-3007 (2d Cir. Nov.

23, 2022). This is grounds for dismissal of Plaintiff’s claims, which are based on alleged

infringement of videos that Plaintiff himself had already uploaded to the YouTube service subject

to the license. FAC (ECF No. 62) ¶¶ 4, 13-19; Supp. Compl. ¶¶ 9-16.

       Plaintiff offers two makeweight arguments against dismissal on this ground. First, he

claims “[t]he key video in this litigation was never published on YouTube” and therefore is not

subject to the license. Opp. at 4. But Plaintiff cannot save his claims by introducing a surprise

unpublished video in his opposition brief. In addition to being unalleged, this directly contradicts

his existing allegations which make clear that all works-in-suit were “published . . . as content to

[Plaintiff’s] YouTube channel.” Supp. Compl. ¶ 9. None of Plaintiff’s works are identified in any

of his complaints except by a YouTube URL. See FAC Ex. 1; Supp. Compl. Ex. 1; 2d Supp.

Compl. Ex. 1 (ECF No. 118-1). Second, Plaintiff attempts to distract from the broad license he

granted YouTube by instead quoting the license he granted to other YouTube users. Compare Mot.

at 5 (quoting “License to YouTube” in Decl. Ex. A at 8) with Opp. at 4 (quoting “License to Other

Users” in Decl. Ex. A at 9). This is misleading. The existence of another license does nothing to

change the terms of the “License to YouTube” relied on by Google in its motion.

IV.    Conclusion
       WHEREFORE, Google respectfully asks the Court to grant its motion and transfer the case

pursuant to the forum-selection clause, or dismiss the case without leave to amend.




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Dated: June 14, 2023                      Respectfully submitted,

                                          GOOGLE LLC

                                          By its attorneys,

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                                    CERTIFICATE OF SERVICE

       Undersigned counsel certifies on this 14th day of June, 2023 that this document was filed

through the CM/ECF system and will be served electronically to the registered participants as

identified on the Notice of Electronic Filing through the Court’s transmission facilities, and that

non-registered participants (if any) have been served this day by U.S. Mail.

                                                 Respectfully submitted,

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